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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                www.flmb.uscourts.gov


In Re:                                                     Case No: 8:18-bk-06958-CPM
                                                           Chapter 7
Carisa Hines,
Debtor.

___________________________/

          DEBTOR’S RESPONSE TO MOTION FROM RELIEF FROM STAY


   Carisa Hines, Debtor, by and through her undersigned counsel files this Response to Creditor
Cobblestone Landing Townhomes Condominium Association, Inc (the “Association), in the
above captioned case and in support thereof states:

   1. The Association filed a relief from Stay (Doc.No.6)
   2. Debtor listed her home as exempt in the Petition and that it was her intent to retain her
      homestead.
   3. Debtor is considering retaining the home and would like to know the arrearage amount.

   WHEREFORE, the Debtor respectfully requests that the Court deny the Motion for Relief
   from Stay and for any other relief as the Court deems just.

                                     Respectfully submitted,


                                     Sun Coast Law, LLC

                                     /s/ Shelley Hogue
                                     Shelley Hogue, Esq.
                                     Florida Bar No. 44184
                                     150 N. Orange Ave., Suite 414C
                                     Orlando, FL 32801
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy hereof has been served by electronic delivery where
indicated and or US MAIL to all parties listed below on September 7, 2018,



US MAIL:

Carolyn R. Chaney
Trustee
PO Box 530248
St. Petersburg, FL 33747

US Trustee
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                                     /s/ Shelley Hogue
                                     Shelley Hogue
